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                    EXHIBIT A
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                                          Bitcoin Holdings

          Defendant failed to produce certain evidence in this case in connection with the amount of
  bitcoin that he held as of April 26, 2013. He was required to do so. You may therefore assume that
  the evidence shows identification of at least 1,100,111 bitcoin held by Defendant as of April 26,
  2013.


  ________________________
  Authorities:

  Fed. R. Civ. P. 37(c)(1)(B); ECF [373], at 22 (“In the event the bonded courier does not arrive,
  and the Plaintiffs are not given access to this information, which the Court has already found[]
  directly relevant to their claims, the Court finds additional sanctions would be warranted.
  Specifically, pursuant Rule 37(c)(1)(B), the Court will inform the jury of Defendant’s failure to
  disclose the information sought by the Plaintiffs.”); ECF No. [217]; ECF No. [376]; ECF No.
  [595], at 39 (denying Plaintiffs’ motion for default sanctions on the grounds that “the Court
  previously left open the possibility that it would impose an adverse inference sanction under Rule
  37(c)(1)(B) in the Objections Order, ECF No. [373] at 22, that was conditioned on Defendant not
  producing his list of bitcoin holdings” and Defendant had apparently done so as of the Court’s
  order); Trial Tr. Day 7 PM (Rough) at 39:1–15, 44:10–12; Trial Tr. Day 9 PM (Rough) at 30:5-
  31:11, 32:1–3; First Witness Statement of Dr Craig Steven Wright, Tulip Trading Limited and
  Bitcoin Ass’n for BSV, Claim No. BL-2021-000313 (U.K. High Court of Justice, filed Apr. 29,
  2011), at 14, 25.

  GIVEN                                        ___________________________
  GIVEN AS MODIFIED                            ___________________________
  WITHDRAWN                                    ___________________________
  GRANTED                                      ___________________________
  DENIED                                       ___________________________




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                                 Bitcoin Holdings [ALTERNATIVE]

         One of the issues in this case is the amount of bitcoin Dr. Wright holds. Through his
  counsel, as reflected in P446, Dr. Wright has previously certified to the Court that he holds
  820,200 bitcoin. The list of that bitcoin is in also in evidence (see P554). Although Plaintiffs
  claim that Dr. Wright holds at least 1.1 million bitcoins, and that Plaintiffs are entitled to half of
  them, I am instructing you that you must accept as true that Dr. Wright holds at least 820,200
  bitcoin.


  ________________________
  Authorities:

  ECF No. [446] (Notice of Compliance); ECF No. 554 (Defendant’s certified list of bitcoin
  holdings); Best Canvas Prod. & Supplies, Inc. v. Ploof Truck Lines, Inc., 713 F.2d 618, 621
  (11th Cir. 1983); Harrell v. United States, No. 16-cv-284, 2020 WL 619580, at *15 (M.D. Fla.
  Feb. 10, 2020), appeal dismissed, 2020 WL 3968274 (11th Cir. June 22, 2020); Tri-Lady Marine,
  Ltd. v. Bishop Mechancial Servs., LLC, 2018 WL 10466997, at *4 (S.D. Fla. Sept. 20, 2018), aff’d
  sub nom. Tri-Lady Marine, Ltd. v. Bishop Mech. Servs., LLC, 763 F. App’x 882 (11th Cir. 2019);
  Aquent LLC v. Stapleton, 65 F. Supp. 3d 1339, 1349 (M.D. Fla. 2014); see also Starbuck v. R.J.
  Reynolds Tobacco Co., 349 F. Supp. 3d 1223, 1233 (M.D. Fla. 2018); Reynolds v. Roberts, 202
  F.3d 1303, 1318 n.24 (11th Cir. 2000) (judicial admissions are “deliberate, clear, and
  unequivocal”).

  GIVEN                                          ___________________________
  GIVEN AS MODIFIED                              ___________________________
  WITHDRAWN                                      ___________________________
  GRANTED                                        ___________________________
  DENIED                                         ___________________________




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